












Affirmed and
Memorandum Opinion filed December 17, 2009.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00496-CR

____________

&nbsp;

PEDRO SANTIBANEZ, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;

&nbsp;



On Appeal from the 262nd District Court

Harris County, Texas

Trial Court Cause No. 1198731

&nbsp;

&nbsp;

&nbsp;



M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant entered a guilty plea without an agreed
recommendation on punishment to burglary of a habitation. On February 4, 2009,
the trial court deferred a finding of guilt and placed appellant on community
supervision for ten years. On April 14, 2009, the State filed a motion to
adjudicate guilt. Appellant entered a plea of true, and on May 28, 2009, the
trial court found appellant guilty and sentenced him to five years in the
Institutional Division of the Texas Department of Criminal Justice and assessed
a fine of $500. Appellant filed a timely notice of appeal.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant’s appointed counsel filed a brief in which he
concludes this appeal is wholly frivolous and without merit. The brief meets
the requirements of Anders v. California, 386 U.S. 738, 87 S.Ct. 1396
(1967), by presenting a professional evaluation of the record and demonstrating
why there are no arguable grounds to be advanced. See High v. State, 573
S.W.2d 807, 811-12 (Tex. Crim. App. 1978).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A copy of counsel’s brief was delivered to appellant.
Appellant was advised of the right to examine the appellate record and file a
pro se response. See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim.
App. 1991). Appellant was granted an extension of time until November 9, 2009,
to file his pro se response. As of this date, no pro se response has been
filed.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We have carefully reviewed the record and counsel’s brief and
agree the appeal is wholly frivolous and without merit. Further, we find no
reversible error in the record. A discussion of the brief would add nothing to
the jurisprudence of the state. We are not to address the merits of each claim
raised in an Anders brief or a pro se response when we have determined
there are no arguable grounds for review. See Bledsoe v. State, 178
S.W.3d 824, 827-28 (Tex. Crim. App. 2005).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, the judgment of the trial court is affirmed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Anderson and Christopher.

Do Not Publish — Tex. R. App.
P. 47.2(b).





